LOCAL OFFICIAL FORM 102


                                         UNITED STATES BANKRUPTCY COURT
                                              DISTRICT OF COLUMBIA

                            In re:                                                  Case No. xx-xxxxx-ELG

                                         ,                                          Chapter xx
                                                   Debtor.


                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.    Pursuant to 11 U.S.C. § 329(a) and Federal Rule of Bankruptcy Procedure 2016(b), I certify that I am the
      attorney for the above named debtor(s) and that compensation paid to me within one year before the filing
      of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf
      of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

      For legal services, I have agreed to accept a flat fee of .................................$_____                  6500.00
      Filing fees.......................................................................................................$_____
                                                                                                                         1738.00

                                                                                                      0
      Prior to the filing of this statement I have received .......................................$_____

      Balance Due ...................................................................................................$8____
                                                                                                                      7238.00

                                                                         OR

      I have agreed to provide services on the following terms and conditions (i.e., hourly or without
      compensation on a pro bono basis). If pro bono, questions 2, 3, and 4 may be omitted.




2.    The source of the compensation paid to me was:

                ☐Debtor                                    ☐Other (specify) ___________________________

3.    The source of compensation to be paid to me is:

                ☐Debtor
                X                                          ☐Other (specify) ___________________________

4.    ☐
      X I have not agreed to share the above-disclosed compensation with any other person unless they are
      members or associates of my law firm.

      ☐ I have agreed to share the above-disclosed compensation with another person or persons who are not
      members or associates of my law firm. A copy of the agreement, together with a list of the names of the
      people sharing in the compensation, is attached.

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5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
       case, including:

       a.     Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
              whether to file a petition in bankruptcy;
       b.     Preparation and filing of any petition, schedules, statements of affairs, and plan which may be
              required;
       c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any
              adjourned hearings thereof;
       d.     2016-2(b) if taking the no-look fee
       e.     [Other provisions as needed]

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following services:


                                               CERTIFICATION

        I certify that the foregoing is an accurate statement of any agreement or arrangement for payment to me
for representation of the debtor(s) in this bankruptcy proceeding.

Date: ___August 27, 2024______________________
                                                                   /S/Lev Ivan Gabriel Iwashko
                                                                  Signature of attorney
                                                                    Lev Ivan Gabriel Iwashko - 1022054
                                                                  Name, Bar Number
                                                                   The Iwashko Law Firm, PLLC
                                                                  Firm
                                                                   1250 Connecticut Ave. NW, Suite 700
                                                                  Address
                                                                    Washington, DC 20036
                                                                  Address
                                                                     202-441-5043
                                                                  Telephone
                                                                     Lev@iwashkoLaw.com
                                                                  Email Address




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